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                       EXHIBIT Q
           [PUBLIC VERSION]




                              CONFIDENTIAL


IN ACCORDANCE WITH A          PROTECTIVE ORDER, THE ENCLOSURE(S)


SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE SHOWN TO


ANY    PERSON    OTHER     THAN    THOSE     PERSONS      DESIGNATED      IN


PARAGRAPH 8.2 OF THE PROTECTIVE ORDER.
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